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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    DUBLIN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )           CR 315-006
                                             )
OSCAR SIERRA-RUBIO                           )
                                         _________

                                         ORDER
                                         _________

       Defendant Oscar Sierra-Rubio filed a motion to adopt the motions filed by his co-

defendants. The Court GRANTS this motion. (Doc. no. 43.) Defense counsel is instructed

to file written notice with the Court of the specific motions that Defendant intends to adopt.

Such written notice must be filed not later than August 26, 2015. If any of the motions

adopted require evidentiary support and/or a supporting memorandum particularized to the

circumstances of Defendant, that supporting documentation must be filed along with the

written notice of adoption. Counsel is specifically directed to Local Criminal Rule 12.1.

       SO ORDERED this 20th day of August, 2015, at Augusta, Georgia.
